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I’ROB l2
(7/93)

                              United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
Name of Offender: Winfred Moses                                                          Cr.: 16-00574-00 I
                                                                                        PACTS #: 2186263

Name of Sentencing Judicial Officer:    THE HONORABLE WILLIAM H. WALLS
                                        SENIOR UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 04/12/2017

Original Offense:   Count One: Conspiracy to File False, Fictitious, or Fraudulent Claims with the IRS, in
                    violation of IS USC 371 [18 USC 287], a Class D felony

Original Sentence: 26 months imprisonment. 36 months supervised release

Special Conditions: Special Assessment, Restitution   -   Money. Financial Disclosure, No New Debt/Credit

Type of Supervision: Supervised Release                           Date Supervision Commenced: 03/2912019

                                NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance


                      “The defendant shall make restitution payments in the amount of $200,045.
                      The defendant shall satisfy the amount due in monthly installments of no
                      less than $100, to commence thirty (30) after release from confinement.”



U.S. Probation Officer Action:
On March 29, 2019, Winfred Moses commenced supervised release upon his release from the Bureau of
Prisons. He has made restitution payments totaling $2,030: however, he has not made consistent monthly
5100 payments as ordered by the Court. Since commencing supervision, he has remitted the following
restitution payments starting from the most recent payment made:

 9/16/2021                $100.00                         10/15/2020              580.00
 8/12/2021                $100.00                         8/20/2020               $75.00
 7/22/2021                $100.00                         7/16/2020               $75.00
 6/24/2021                $100.00                         6/18/2020               $50.00
 5/20/2021                $100.00                         5/28/2020               $25.00
 4/15/2021                $100.00                         2/12/2020              $100.00
 3/18/2021                $100.00                         2/I 2/2020             $100.00
 2/24/2021                 $75.00                         11/14/2019             $100.00
 1/27/2021                 $75.00                         10/7/2019              SI 00.00
 12/14/2020                $75.00                         6/1/2019               $100.00
 12/9/2020                 $75.00
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                                                                                            Prob 12A—page2
                                                                                               Winfred Moses

 The purpose of this correspondence is to also inform that Mr. Moses is scheduled to terminate from
 supervised release on March 28, 2022. without satisfying the entire restitution order. Notably, the
 restitution obligation is collectable by the U.S. Attorney’s Office Financial Litigation Unit for up to 20
 years. Despite not making monthly 5100 payments. Mr. Moses made a good faith effort to remit payments
 toward the restitution obligation and we are respectfully requesting that no further action be taken against
 him and that lie terminate from supervision as scheduled on March 28, 2022.

 We will continue to monitor his compliance with the conditions of supervision, along with monthly
 restitution payments. Should there be any further compliance issues, we will notify the Court promptly.




                                                           Respectfully submitted,

                                                           SUSAN M. SMALLEY. Chief
                                                           U.S. Probation Officer

                                                                    4,n,        iY   -




                                                            By:   CARRIE H. BORONA
                                                                  U.S. Probation Officer

/cb

 APPROVED:




Sa.wuze Qotda-.MuWrcz                      101061202!
 SUZANNE GOLDA-MARTINEZ                             Date
 Supervising U.S. Probation Officer

Pk’ase check a box helmi’ to indicate the Court c direction regarding action to he taken in tins cas’e.

    No Formal Court Action to be Taken at This Time and Allow Winfred Moses to terminate as scheduled
,   (as recommended by the Probation Office)

F Submit a Request for Modifying the Conditions or Term of Supervision

F Submit a Request for Warrant or Summons
F Other




                                                        7          Signature     JJdicial Officer



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